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Li Nowlin-Sohl*
Li Nowlin-Sohl*                                      Brad S.
                                                     Brad     Karp*
                                                           S. Karp*
(admitted  only in
(admitted only     Washington)
                in Washington)                       Alexia D.
                                                     Alexia  D. Korberg*
                                                                Korberg*
Leslie Cooper*
Leslie Cooper*                                       Jackson  Yates*
                                                     Jackson Yates*
Taylor Brown*
Taylor Brown*                                        Dana L.
                                                     Dana     Kennedy*
                                                           L. Kennedy*
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AMERICAN    CIVIL L          UNION
                    IBERTIES UNION
                   LIBERTIES                         PAUL, W
                                                     PAUL,    EISS, RIFKIND,
                                                            WEISS,  RIFKIND, WHARTON
                                                                             WHARTON
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                                                                       the Americas
                                                                           Americas
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         Eppink (ISB   no. 7503)
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                                                     *Admitted pro hac vice
                                                                       vice
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Casey  Parsons (ISB
               (ISB no.
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                          11323)
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David  A. DeRoin
          DeRoin (ISB
                   (ISB no.
                         no. 10404)
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                                                                    Plaintiffs
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   REST COLLECTIVE
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                                                     Additional         for Plaintiffs
                                                                counselfor  Plaintiffs identified on
                                                                                       identified on
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                           UNITED STATES DISTRICT
                           UNITED STATES DISTRICT COURT
                                                   COURT
                            FOR THE DISTRICT
                            FOR THE  DISTRICT OF
                                              OF IDAHO
                                                 IDAHO
PAM
PAM POE,   by and
     POE, by   and through
                   through her
                            her parents
                                parents and
                                        and next
                                            next friends,
                                                 friends,
Penny and
Penny and Peter
          Peter Poe;
                Poe; PENNY
                     PENNY POE;POE; PETER
                                     PETER POE;      JANE
                                               POE; JANE
DOE,  by and through  her parents and next friends, Joan
DOE, by and through her parents and next friends, Joan andand
John Doe; JOAN
John Doe; JOAN DOE;
                 DOE; JOHN
                        JOHN DOE,
                                DOE,
        Plaintiffs,
        Plaintiffs,                                                     Case No.
                                                                        Case No. 1:23-cv-00269-CWD
                                                                                 1:23-cv-00269-CWD
                                 v.
                                 v.
RAÚL LABRADOR,
RAUL     LABRADOR, in     in his
                             his official
                                 official capacity  as Attorney
                                          capacity as  Attorney
General of
General   of the
             the State of Idaho;
                 State of Idaho; JAN
                                  JAN M.M. BENNETTS,
                                             BENNETTS, in       her
                                                             in her
official capacity
official capacity as
                   as County
                      County Prosecuting
                               Prosecuting Attorney
                                             Attorney for   Ada,
                                                        for Ada,
Idaho;  and the
Idaho; and   the INDIVIDUAL       MEMBERS OF
                 INDIVIDUAL MEMBERS               OF THE
                                                       THE
IDAHO
IDAHO CODECODE COMMISSION,
                   COMMISSION, in          their official
                                       in their  official capacities,
                                                          capacities,
        Defendants.
        Defendants.



                  EXPERT DECLARATION OF
                  EXPERT DECLARATION OF CHRISTINE
                                        CHRISTINE BRADY,
                                                  BRADY, PhD
                                                         PhD
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Eric  Alan Stone*
Eric Alan   Stone*                    Jordan Orosz*
                                      Jordan Orosz*
Ariella C.
Ariella  C. Barel*
            Barel*                    PAUL, WEISS,
                                      PAUL,  WEISS, RIFKIND,
                                                    RIFKIND, WHARTON
                                                             WHARTON
Kyle Bersani*
Kyle  Bersani*                        &G
                                      &    ARRISON LLP
                                         GARRISON  LLP
G ROOMBRIDGE, WU,
GROOMBRIDGE,     WU, BAUGHMAN
                       BAUGHMAN AND   2001 K
                                      2001  K Street, NW
                                              Street, NW
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       S. May*                        Dina Flores
                                      Dina  Flores-Brewer (ISB no.
                                                  -Brewer (ISB no. 6141)
                                                                   6141)
G ROOMBRIDGE, WU,
GROOMBRIDGE,    WU, BAUGHMAN
                    BAUGHMAN AND      ACLU OF IIDAHO
                                      ACLU             FOUNDATION
                                                  DAHO FOUNDATION
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                                                1897
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*Admitted pro hac vice
                  vice                Attorneys for
                                      Attorneys for Plaintiffs
                                                    Plaintiffs
       Case 1:23-cv-00269-BLW Document 32-6 Filed 07/21/23 Page 3 of 18




       I, Christine Brady,
       I, Christine Brady, PhD,
                           PhD, hereby
                                hereby declare
                                       declare and
                                               and state
                                                   state as
                                                         as follows:
                                                            follows:

       1.
       1.      II am
                  am over
                     over 18
                          18 years
                             years of
                                   of age
                                      age and
                                          and competent
                                              competent to
                                                        to testify.
                                                           testify.

       2.
       2.      II have
                  have been
                       been retained
                            retained by
                                     by counsel
                                        counsel for
                                                for Plaintiffs
                                                    Plaintiffs as
                                                               as an
                                                                  an expert in connection
                                                                     expert in            with the
                                                                               connection with the

above-captioned litigation.
above-captioned litigation. The
                            The opinions
                                opinions expressed
                                         expressed herein
                                                   herein are
                                                          are my
                                                              my own
                                                                 own and
                                                                     and do
                                                                         do not
                                                                            not necessarily
                                                                                necessarily

express the
express the views
            views or
                  or opinions
                     opinions of
                              of my
                                 my employer.
                                    employer.

       3.
       3.      II have
                  have actual
                       actual knowledge
                              knowledge of
                                        of the
                                           the matters
                                               matters stated
                                                       stated herein.
                                                              herein. If
                                                                      If called
                                                                         called to
                                                                                to testify
                                                                                   testify in this
                                                                                           in this

matter, II would
matter,    would testify
                 testify truthfully
                         truthfully and
                                    and based
                                        based on
                                              on my
                                                 my expert
                                                    expert opinions.
                                                           opinions.

       4.
       4.      In preparing this
               In preparing this declaration,
                                 declaration, II reviewed
                                                 reviewed Idaho
                                                          Idaho State
                                                                State Legislature House Bill
                                                                      Legislature House Bill 71
                                                                                             71

(hereafter "Ban").
(hereafter “Ban”). My
                   My opinions
                      opinions contained
                               contained in this declaration
                                         in this declaration are
                                                             are based
                                                                 based on
                                                                       on my
                                                                          my training
                                                                             training as
                                                                                      as aa

psychologist; my
psychologist; my clinical
                 clinical experience
                          experience as
                                     as aa pediatric
                                           pediatric psychologist,
                                                     psychologist, including my experience
                                                                   including my experience

treating youth
treating youth and
               and young
                   young adults
                         adults up
                                up to
                                   to age
                                      age 23
                                          23 with
                                             with gender
                                                  gender dysphoria;
                                                         dysphoria; my
                                                                    my knowledge of peer
                                                                       knowledge of peer

reviewed research
reviewed research relevant to the
                  relevant to the treatment
                                  treatment of
                                            of gender dysphoria; my
                                               gender dysphoria; my knowledge of the
                                                                    knowledge of the clinical
                                                                                     clinical

best practice
best practice guidelines
              guidelines set
                         set forth by professional
                             forth by professional organizations
                                                   organizations for the treatment
                                                                 for the treatment of
                                                                                   of gender
                                                                                      gender

dysphoria including
dysphoria           the World
          including the World Professional
                              Professional Association
                                           Association for
                                                       for Transgender Health ("WPATH")
                                                           Transgender Health (“WPATH”)

Standards of Care
Standards of Care for the Health
                  for the Health of
                                 of Transgender
                                    Transgender and
                                                and Gender
                                                    Gender Diverse
                                                           Diverse People
                                                                   People Version
                                                                          Version 8
                                                                                  8 ("SOC
                                                                                    (“SOC

8”),
8"), Endocrine
     Endocrine Society’s the Endocrine
               Society's the Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent
                                       Treatment of Gender-Dysphoric/Gender-Incongruent

Persons: An
Persons: An Endocrine
            Endocrine Society Clinical Practice
                      Society Clinical Practice Guideline
                                                Guideline ("Endocrine
                                                          (“Endocrine Society Guideline”), and
                                                                      Society Guideline"), and

the American
the American Psychological
             Psychological Association
                           Association ("APA")
                                       (“APA”) Guidelines
                                               Guidelines for
                                                          for Psychological
                                                              Psychological Practice
                                                                            Practice With
                                                                                     With

Transgender and Gender
Transgender and Gender Nonconforming
                       Nonconforming People.
                                     People.

                         BACKGROUND AND
                         BACKGROUND AND QUALIFICATIONS
                                        QUALIFICATIONS

       5.
       5.      II am
                  am aa Clinical
                        Clinical Assistant
                                 Assistant Professor
                                           Professor in the Department
                                                     in the Department of
                                                                       of Pediatric
                                                                          Pediatric Endocrinology
                                                                                    Endocrinology

and Diabetes,
and Diabetes, and
              and (by
                  (by courtesy) Psychiatry and
                      courtesy) Psychiatry and Behavioral
                                               Behavioral Sciences at Stanford
                                                          Sciences at          University
                                                                      Stanford University

School of Medicine.
School of Medicine. II am
                       am the
                          the full-time
                              full-time psychologist
                                        psychologist at
                                                     at the
                                                        the Pediatric
                                                            Pediatric and
                                                                      and Adolescent
                                                                          Adolescent Gender
                                                                                     Gender



                                                 11
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Clinic at
Clinic at Stanford Medicine Children's
          Stanford Medicine Children’s Health.
                                       Health. II provide
                                                  provide direct
                                                          direct therapeutic
                                                                 therapeutic service
                                                                             service to
                                                                                     to patients
                                                                                        patients

(average of
(average of 350
            350 families
                families per
                         per year),
                             year), clinical
                                    clinical supervision/training
                                             supervision/training to
                                                                  to the
                                                                     the psychology
                                                                         psychology graduate
                                                                                    graduate

program and
program and psychiatry
            psychiatry fellowship
                       fellowship program,
                                  program, and
                                           and lectures on gender
                                               lectures on gender affirming
                                                                  affirming care
                                                                            care to
                                                                                 to psychology
                                                                                    psychology

students, residents,
students, residents, and
                     and fellows
                         fellows and
                                 and psychiatry
                                     psychiatry fellows.
                                                fellows. II also
                                                            also conduct research on
                                                                 conduct research on cultural
                                                                                     cultural

considerations related
considerations related to
                       to Asian
                          Asian American
                                American Native
                                         Native Hawaii
                                                Hawaii Pacific
                                                       Pacific Islander (AANHPI) gender
                                                               Islander (AANHPI) gender

diverse youth.
diverse youth.

       6.
       6.        II received
                    received my
                             my Bachelor
                                Bachelor of
                                         of Science and Master
                                            Science and Master of
                                                               of Arts
                                                                  Arts in
                                                                       in Psychology
                                                                          Psychology from
                                                                                     from James
                                                                                          James

Madison University,
Madison University, Harrisonburg,
                    Harrisonburg, VA.
                                  VA. II completed
                                         completed my
                                                   my Ph.D.
                                                      Ph.D. in
                                                            in Clinical
                                                               Clinical Psychology
                                                                        Psychology at
                                                                                   at Ohio
                                                                                      Ohio

University, Athens,
University, Athens, OH
                    OH in 2014. II completed
                       in 2014.    completed aa year-long
                                                year-long Pre-Doctoral
                                                          Pre-Doctoral Internship at the
                                                                       Internship at the

University of
University of Washington/Seattle
              Washington/Seattle Children's
                                 Children’s Hospital
                                            Hospital as
                                                     as well
                                                        well as
                                                             as aa year-long
                                                                   year-long Post-Doctoral
                                                                             Post-Doctoral

Fellowship at
Fellowship at the
              the University
                  University of
                             of Louisville/Norton Children’s Hospital.
                                Louisville/Norton Children's Hospital.

       7.
       7.        In 2015, II co-founded
                 In 2015,    co-founded and
                                        and was
                                            was Co-Director
                                                Co-Director of
                                                            of the
                                                               the Gender
                                                                   Gender Clinic
                                                                          Clinic at
                                                                                 at Hennepin
                                                                                    Hennepin

Healthcare in
Healthcare in Minneapolis,
              Minneapolis, MN.
                           MN. After
                               After aa year
                                        year in Minnesota, II became
                                             in Minnesota,    became Co-Director
                                                                     Co-Director of
                                                                                 of the
                                                                                    the

Pediatric Gender
Pediatric        Clinic at
          Gender Clinic at the
                           the University
                               University of
                                          of Louisville
                                             Louisville and
                                                        and was
                                                            was there
                                                                there for
                                                                      for three
                                                                          three years
                                                                                years before
                                                                                      before

coming to
coming to Stanford, where II have
          Stanford, where    have been
                                  been working
                                       working for almost three
                                               for almost three years.
                                                                years. In the eight
                                                                       In the       years II have
                                                                              eight years    have

been working
been working with
             with individuals
                  individuals with
                              with gender dysphoria, II have
                                   gender dysphoria,    have treated
                                                             treated over
                                                                     over 1,000
                                                                          1,000 youth
                                                                                youth and
                                                                                      and

families. Currently, 100
families. Currently, 100 percent
                         percent of
                                 of my
                                    my clinical
                                       clinical practice
                                                practice are
                                                         are transgender
                                                             transgender youth.
                                                                         youth. In
                                                                                In previous
                                                                                   previous

positions, II provided
positions,    provided therapy
                       therapy to
                               to aa wide
                                     wide range
                                          range of
                                                of presenting
                                                   presenting problems
                                                              problems including
                                                                       including ADHD,
                                                                                 ADHD,

depression, anxiety,
depression, anxiety, trauma,
                     trauma, and
                             and coping with medical
                                 coping with medical illness
                                                     illness such
                                                             such as
                                                                  as cancer.
                                                                     cancer. Thus,
                                                                             Thus, II have
                                                                                      have

extensive experience
extensive experience and
                     and strong
                         strong therapeutic
                                therapeutic skills
                                            skills in
                                                   in working
                                                      working with
                                                              with patients
                                                                   patients with
                                                                            with gender
                                                                                 gender

dysphoria as
dysphoria as well
             well as
                  as other
                     other common
                           common diagnoses
                                  diagnoses in adolescents and
                                            in adolescents and young
                                                               young adults.
                                                                     adults.

       8.
       8.        II am
                    am aa licensed
                          licensed psychologist
                                   psychologist in the state
                                                in the state of
                                                             of California.
                                                                California.

       9.
       9.        II have
                    have been
                         been aa member
                                 member of
                                        of WPATH
                                           WPATH since
                                                 since 2017.
                                                       2017.



                                                    22
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        10.
        10.     Further information
                Further information about
                                    about my
                                          my professional
                                             professional background
                                                          background and
                                                                     and experience
                                                                         experience is outlined
                                                                                    is outlined

in my
in my curriculum
      curriculum vitae,
                 vitae, aa true
                           true and
                                and accurate
                                    accurate copy
                                             copy of
                                                  of which
                                                     which is
                                                           is attached
                                                              attached as
                                                                       as Exhibit A to
                                                                          Exhibit A to this
                                                                                       this report.
                                                                                            report.

        11.
        11.     II am
                   am being
                      being compensated
                            compensated at
                                        at an
                                           an hourly
                                              hourly rate
                                                     rate of
                                                          of $250 per hour
                                                             $250 per hour for
                                                                           for preparation
                                                                               preparation of
                                                                                           of

expert declarations
expert declarations and
                    and reports,
                        reports, and
                                 and $400
                                     $400 per
                                          per hour
                                              hour for
                                                   for time
                                                       time spent
                                                            spent preparing
                                                                  preparing for
                                                                            for or
                                                                                or giving
                                                                                   giving

deposition or
deposition or trial
              trial testimony.
                    testimony. My
                               My compensation
                                  compensation does
                                               does not
                                                    not depend
                                                        depend on
                                                               on the
                                                                  the outcome
                                                                      outcome of
                                                                              of this
                                                                                 this

litigation, the opinions
litigation, the opinions II express,
                            express, or
                                     or the
                                        the testimony
                                            testimony II provide.
                                                         provide.

                                        EXPERT OPINIONS
                                        EXPERT OPINIONS

    A. Gender
    A. Gender Identity
              Identity

        12.
        12.     A person's
                A person’s sex
                           sex is
                               is typically
                                  typically assigned
                                            assigned at
                                                     at birth
                                                        birth based
                                                              based upon
                                                                    upon the
                                                                         the external
                                                                             external genitalia
                                                                                      genitalia

observed. A
observed. A person's
            person’s assigned
                     assigned or
                              or designated
                                 designated sex
                                            sex may
                                                may or
                                                    or may
                                                       may not
                                                           not align
                                                               align with
                                                                     with their
                                                                          their gender
                                                                                gender identity.
                                                                                       identity.

Transgender or gender
Transgender or gender diverse
                      diverse individuals
                              individuals have
                                          have aa gender
                                                  gender identity
                                                         identity that
                                                                  that does not align
                                                                       does not align with
                                                                                      with their
                                                                                           their

assigned sex.
assigned sex. Cisgender
              Cisgender individuals
                        individuals have
                                    have aa gender
                                            gender identity
                                                   identity that
                                                            that does
                                                                 does align
                                                                      align with
                                                                            with their
                                                                                 their assigned
                                                                                       assigned

sex.
sex.

        13.
        13.     Gender identity
                Gender          is aa person's
                       identity is    person’s core,
                                               core, internal sense of
                                                     internal sense of gender,
                                                                       gender, such
                                                                               such as
                                                                                    as male
                                                                                       male or
                                                                                            or

female. Every
female. Every person
              person has
                     has aa gender
                            gender identity.
                                   identity.

        14.
        14.     Gender identity
                Gender          is not
                       identity is not aa choice.
                                          choice. It is an
                                                  It is an essential
                                                           essential part
                                                                     part of
                                                                          of one's
                                                                             one’s identity
                                                                                   identity and
                                                                                            and being.
                                                                                                being.

Moreover, gender
Moreover, gender identity
                 identity is
                          is not
                             not something
                                 something that
                                           that can be voluntarily
                                                can be voluntarily changed.
                                                                   changed.

        15.
        15.     Efforts to try
                Efforts to try to
                               to change
                                  change aa person's
                                            person’s gender
                                                     gender identity
                                                            identity through
                                                                     through therapy
                                                                             therapy have
                                                                                     have been
                                                                                          been

shown to
shown to be
         be ineffective
            ineffective and
                        and harmful.
                            harmful. For
                                     For example,
                                         example, in
                                                  in aa survey
                                                        survey of
                                                               of transgender
                                                                  transgender adults,
                                                                              adults, those
                                                                                      those who
                                                                                            who

reported receiving
reported receiving talk
                   talk therapy
                        therapy aimed
                                aimed at
                                      at changing
                                         changing their
                                                  their gender identity to
                                                        gender identity to match
                                                                           match their
                                                                                 their sex
                                                                                       sex

assigned at
assigned at birth
            birth (sometimes
                  (sometimes referred
                             referred to
                                      to as
                                         as conversion
                                            conversion therapy)
                                                       therapy) indicated
                                                                indicated aa lack of effectiveness
                                                                             lack of effectiveness




                                                    33
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of that
of that treatment,
        treatment, higher
                   higher psychological
                          psychological distress,
                                        distress, and
                                                  and increased odds of
                                                      increased odds of suicide attempts.1 The
                                                                        suicide attempts.1 The

survey found
survey       that conversion
       found that conversion efforts in children
                             efforts in children under
                                                 under the
                                                       the age
                                                           age of
                                                               of 10
                                                                  10 correlated
                                                                     correlated with
                                                                                with aa 4-fold
                                                                                        4-fold

increase in
increase in attempted suicides.2 Major
            attempted suicides.2 Major U.S.
                                       U.S. professional
                                            professional medical
                                                         medical organizations
                                                                 organizations have
                                                                               have therefore
                                                                                    therefore

published statements
published statements warning
                     warning against
                             against the
                                     the dangers
                                         dangers of
                                                 of conversion therapy and
                                                    conversion therapy and their
                                                                           their

recommendations that
recommendations that it
                     it should
                        should not
                               not be
                                   be used
                                      used with
                                           with transgender
                                                transgender individuals
                                                            individuals (e.g.,
                                                                        (e.g., American
                                                                               American

Psychological Association,
Psychological Association, American
                           American Medical
                                    Medical Association,
                                            Association, and
                                                         and American
                                                             American Academy
                                                                      Academy of
                                                                              of Child
                                                                                 Child and
                                                                                       and

           Psychiatry).3
Adolescent Psychiatry).3
Adolescent

   B. Diagnosing
   B. Diagnosing Gender Dysphoria
                 Gender Dysphoria

       16.
       16.     Gender dysphoria
               Gender           is aa clinical
                      dysphoria is    clinical diagnosis given to
                                               diagnosis given to an
                                                                  an individual
                                                                     individual who
                                                                                who is
                                                                                    is

experiencing significant
experiencing significant symptoms
                         symptoms and
                                  and impairment
                                      impairment of
                                                 of function
                                                    function due
                                                             due to
                                                                 to the
                                                                    the incongruence
                                                                        incongruence between
                                                                                     between

their assigned
their assigned sex
               sex and
                   and their
                       their gender
                             gender identity.
                                    identity. Gender dysphoria (and
                                              Gender dysphoria (and past
                                                                    past iterations
                                                                         iterations of
                                                                                    of gender
                                                                                       gender

dysphoria) was
dysphoria) was added
               added to
                     to the
                        the Diagnostic
                            Diagnostic and
                                       and Statistical Manual of
                                           Statistical Manual of Mental
                                                                 Mental Disorders
                                                                        Disorders (DSM)
                                                                                  (DSM) in
                                                                                        in the
                                                                                           the

1980s (version
1980s (version 3).
               3). The
                   The diagnosis and its
                       diagnosis and     criteria have
                                     its criteria have changed over time
                                                       changed over time to
                                                                         to reflect
                                                                            reflect the
                                                                                    the most
                                                                                        most

current research
current research regarding
                 regarding the
                           the presentation
                               presentation of
                                            of this
                                               this diagnosis.
                                                    diagnosis.

       17.
       17.     The current version
               The current version of
                                   of the
                                      the DSM
                                          DSM (DSM-5
                                              (DSM-5 published
                                                     published in 2013 and
                                                               in 2013 and DSM-5-TR
                                                                           DSM-5-TR

published in
published in 2022)
             2022) define gender dysphoria
                   define gender           as aa "marked
                                 dysphoria as    “marked difference between the
                                                         difference between the individual's
                                                                                individual’s




11 Jack
   Jack L.  Turban et
         L. Turban  et al.,
                       al., Association
                            Association Between
                                        Between Recalled
                                                  Recalled Exposure
                                                           Exposure to
                                                                    to Gender Identity Conversion
                                                                       Gender Identity Conversion
 Efforts and
Efforts   and Psychological
               Psychological Distress
                               Distress and
                                        and Suicide
                                            Suicide Attempts
                                                    Attempts Among
                                                             Among Transgender   Adults, 77
                                                                     Transgender Adults, 77 JJAMA
                                                                                              AMA
 PSYCHIATRY 68,
 PSYCHIATRY         69 (2019).
                68, 69 (2019).
 2
   Id. at
2 Id.  at 68.
          68.
 3
   AMERICAN PSYCHOLOGICAL
 3 AMERICAN     PSYCHOLOGICAL ASSOCIATION,
                                   ASSOCIATION, APA
                                                  APA R                GENDER IIDENTITY
                                                         ESOLUTION ON GENDER
                                                      RESOLUTION                         CHANGE
                                                                                DENTITY CHANGE
 E          1-2 (2021),
   FFORTS 1-2
 EFFORTS        (2021), https://www.apa.org/about/policy/resolution-gender-identity-change-
                         https://www.apa.org/about/policy/resolution-gender-identity-change-
 efforts.pdf; AMERICAN
 efforts.pdf;  AMERICAN MEDICAL
                            MEDICAL ASSOCIATION
                                      ASSOCIATION & & GLMA:
                                                      GLMA: HEALTH
                                                              HEALTH PROFESSIONALS
                                                                       PROFESSIONALS ADVANCING
                                                                                       ADVANCING
 LGBTQ
 LGBTQ E     QUALITY, S
            EQUALITY,            ORIENTATION AND GENDER
                          EXUAL ORIENTATION
                        SEXUAL                      GENDER IIDENTITY   CHANGE E
                                                             DENTITY CHANGE     FFORTS (S
                                                                               EFFORTS    O-CALLED
                                                                                        (SO-CALLED
 “CONVERSION T
"CONVERSION        HERAPY”) 4
                  THERAPY")    4 (2022),
                                 (2022), https://www.ama-assn.org/system/files/conversion-therapy-
                                         https://www.ama-assn.org/system/files/conversion-therapy-
 issue-brief.pdf; American
 issue-briefpdf;   American Academy
                              Academy of of Child
                                            Child &
                                                  & Adolescent
                                                    Adolescent Psychiatry,
                                                                Psychiatry, Conversion
                                                                            Conversion Therapy
                                                                                       Therapy
 Policy Statement
Policy    Statement (Feb.
                     (Feb. 2018),
                            2018),
 https://www.aacap.org/AACAP/Policy_Statements/2018/Conversion_Therapy.aspx.
 https://www.aacap.org/AACAP/Policy_Statements/2018/Conversion_Therapy.aspx.
                                                 4
                                                 4
        Case 1:23-cv-00269-BLW Document 32-6 Filed 07/21/23 Page 7 of 18




expressed/experienced gender
expressed/experienced gender and
                             and the
                                 the gender
                                     gender others
                                            others would
                                                   would assign
                                                         assign him
                                                                him or
                                                                    or her."
                                                                       her.” Symptoms must
                                                                             Symptoms must

be present
be present for at least
           for at least six
                        six months,
                            months, be
                                    be verbalized
                                       verbalized externally, and be
                                                  externally, and be causing significant impairment
                                                                     causing significant impairment

in various
in various domains
           domains of
                   of functioning
                      functioning such
                                  such as
                                       as peer
                                          peer relationships,
                                               relationships, school,
                                                              school, or
                                                                      or home
                                                                         home life.
                                                                              life. There are
                                                                                    There are

different diagnostic
different diagnostic criteria
                     criteria for
                              for children than there
                                  children than there are
                                                      are for adolescents and
                                                          for adolescents and adults.
                                                                              adults.

       18.
       18.     For pre-pubertal
               For pre-pubertal children,
                                children, DSM-5
                                          DSM-5 diagnostic criteria are
                                                diagnostic criteria are as
                                                                        as follows:
                                                                           follows:

               A. A
               A.  A marked
                     marked incongruence
                            incongruence between
                                            between one's
                                                     one’s experienced/expressed   gender and
                                                           experienced/expressed gender    and
               assigned gender,
               assigned gender, of
                                of at
                                   at least
                                      least 6 months duration,
                                            6 months duration, as
                                                               as manifested
                                                                  manifested by
                                                                             by at
                                                                                at least six of
                                                                                   least six of the
                                                                                                the
               following (one of
               following (one of which
                                 which must
                                         must be
                                              be Criterion
                                                 Criterion Al):
                                                           A1):

                       1. A
                       1. A strong
                            strong desire
                                   desire to
                                          to be
                                             be of
                                                of the
                                                   the other
                                                       other gender
                                                             gender or
                                                                    or insistence
                                                                       insistence that
                                                                                  that one
                                                                                       one is
                                                                                           is the
                                                                                              the
                          other gender
                          other gender (or
                                       (or some
                                           some alternative
                                                 alternative gender different from
                                                             gender different       one’s assigned
                                                                              from one's  assigned
                          gender).
                          gender).

                       2. In
                       2.    boys (assigned
                          In boys (assigned gender),
                                             gender), aa strong
                                                          strong preference
                                                                  preference for
                                                                              for cross-dressing  or
                                                                                  cross-dressing or
                          simulating female
                          simulating         attire, or
                                      female attire, or in
                                                        in girls
                                                            girls (assigned
                                                                  (assigned gender),
                                                                            gender), aa strong
                                                                                        strong
                          preference for
                          preference      wearing only
                                      for wearing  only typical
                                                          typical masculine
                                                                   masculine clothing
                                                                              clothing and
                                                                                       and aa strong
                                                                                              strong
                          resistance to
                          resistance to the
                                        the wearing
                                            wearing of
                                                     of typical
                                                         typical feminine   clothing.
                                                                  feminine clothing.

                       3. A
                       3. A strong
                            strong preference
                                   preference for
                                              for cross-gender
                                                  cross-gender roles in make-believe
                                                               roles in make-believe play
                                                                                     play or
                                                                                          or
                          fantasy play.
                          fantasy play.

                       4. A
                       4. A strong
                            strong preference
                                   preference for
                                               for the
                                                   the toys,
                                                       toys, games,
                                                             games, or
                                                                    or activities
                                                                       activities stereotypically
                                                                                  stereotypically
                          used or
                          used or engaged
                                  engaged in
                                           in by
                                              by the
                                                 the other
                                                     other gender.
                                                           gender.

                       5. A strong
                       5. A strong preference
                                   preference for playmates of
                                              for playmates of the
                                                               the other
                                                                   other gender.
                                                                         gender.

                       6.
                       6. In boys (assigned
                          In boys (assigned gender),
                                              gender), aa strong
                                                          strong rejection
                                                                  rejection ofof typically
                                                                                 typically masculine
                                                                                           masculine
                          toys, games,
                          toys, games, and
                                        and activities
                                             activities and
                                                        and aa strong
                                                               strong avoidance
                                                                       avoidance of of rough-and-
                                                                                       rough-and-
                          tumble play;
                          tumble  play; or
                                        or in girls (assigned
                                           in girls (assigned gender),
                                                                gender), aa strong
                                                                             strong rejection
                                                                                    rejection of
                                                                                              of
                          typically feminine
                          typically            toys, game
                                    feminine toys,   game and
                                                            and activities.
                                                                 activities.

                       7. A strong
                       7. A strong dislike
                                   dislike of
                                           of one's
                                              one’s sexual
                                                    sexual anatomy.
                                                           anatomy.

                       8. A strong
                       8. A strong desire
                                   desire for
                                          for the
                                              the primary
                                                  primary and/or
                                                          and/or secondary
                                                                 secondary sex
                                                                           sex characteristics
                                                                               characteristics
                          that match one’s experienced  gender.
                          that match one's experienced gender.

               B. The
               B. The condition   is associated
                       condition is  associated with
                                                with clinically
                                                     clinically significant
                                                                significant distress
                                                                            distress or
                                                                                     or impairment
                                                                                        impairment in
                                                                                                   in
               social circles,
               social circles, school,
                               school, or
                                       or other
                                          other important  areas of
                                                important areas  of functioning.
                                                                    functioning.




                                                  5
                                                  5
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       19.
       19.     For adolescents
               For adolescents and
                               and adults,
                                   adults, DSM-5
                                           DSM-5 diagnostic criteria are
                                                 diagnostic criteria are as
                                                                         as follows:
                                                                            follows:

               A. A
               A.  A marked
                     marked incongruence
                            incongruence between
                                            between one's
                                                     one’s experienced/expressed   gender and
                                                           experienced/expressed gender    and
               assigned gender,
               assigned gender, of
                                of at
                                   at least
                                      least 6 months duration,
                                            6 months duration, as
                                                               as manifested
                                                                  manifested by
                                                                             by at
                                                                                at least two of
                                                                                   least two of the
                                                                                                the
               following:
               following:

                        1. A
                        1. A marked
                             marked incongruence
                                      incongruence between
                                                   between one's
                                                            one’s experienced/expressed
                                                                   experienced/expressed gender
                                                                                          gender
                           and  primary or secondary sex characteristics (or in young adolescents,
                           and primary or secondary sex characteristics (or in young adolescents,
                           the anticipated
                           the anticipated secondary
                                           secondary sex
                                                     sex characteristics).
                                                         characteristics).

                        2. A
                        2. A strong
                             strong desire
                                    desire to
                                            to be
                                               be rid
                                                  rid of
                                                      of one's
                                                          one’s primary
                                                                 primary and/or
                                                                         and/or secondary
                                                                                secondary sex
                                                                                            sex
                           characteristics because
                           characteristics because ofof aa marked
                                                           marked incongruence
                                                                    incongruence with
                                                                                 with one's
                                                                                      one’s
                           experienced/expressed gender
                           experienced/expressed    gender (or(or in
                                                                  in young
                                                                     young adolescents,
                                                                           adolescents, aa desire
                                                                                           desire to
                                                                                                  to
                           prevent the
                           prevent the development
                                       development of  of the
                                                           the anticipated
                                                               anticipated secondary
                                                                           secondary sex
                                                                                     sex
                           characteristics).
                           characteristics).

                        3. A
                        3. A strong
                             strong desire
                                     desire for
                                            for the
                                                the primary
                                                    primary and/or
                                                            and/or secondary
                                                                   secondary sex
                                                                             sex characteristics
                                                                                 characteristics of
                                                                                                 of
                           the other
                           the other gender.
                                     gender.

                        4. A
                        4. A strong
                             strong desire
                                     desire to
                                            to be
                                               be of
                                                  of the
                                                     the other
                                                         other gender
                                                               gender (or
                                                                      (or some
                                                                          some alternative
                                                                               alternative gender
                                                                                           gender
                           different from
                           different from one's
                                           one’s assigned
                                                 assigned gender).
                                                           gender).

                        5. A strong
                        5. A strong desire
                                    desire to
                                           to be
                                              be treated
                                                 treated as
                                                         as the
                                                            the other
                                                                other gender
                                                                      gender (or
                                                                             (or some
                                                                                 some alternative
                                                                                      alternative
                           gender different from  one’s assigned  gender).
                           gender different from one's assigned gender).

                        6. A strong
                        6. A strong conviction
                                     conviction that
                                                 that one
                                                      one has
                                                          has the
                                                              the typical
                                                                  typical feelings
                                                                          feelings and
                                                                                   and reactions  of
                                                                                        reactions of
                           the other
                           the other gender
                                     gender (or  some alternative
                                             (or some  alternative gender
                                                                   gender different  from one's
                                                                           different from  one’s
                           assigned gender).
                           assigned  gender).

               B. The
               B.       condition is
                  The condition   is associated
                                     associated with
                                                 with clinically
                                                      clinically significant
                                                                 significant distress
                                                                             distress or
                                                                                      or impairment
                                                                                         impairment in
                                                                                                    in
               social, occupational,
               social, occupational, or
                                      or other
                                         other important
                                               important areas
                                                          areas of
                                                                of functioning.
                                                                   functioning.

        20.
        20.    For adolescents
               For adolescents and
                               and adults
                                   adults whose
                                          whose gender
                                                gender identity
                                                       identity differs
                                                                differs from their sex
                                                                        from their sex assigned
                                                                                       assigned

at birth,
at birth, it
          it is
             is very
                very unlikely
                     unlikely that
                              that they
                                   they will
                                        will later come to
                                             later come to identify with their
                                                           identify with their birth-assigned
                                                                               birth-assigned sex.
                                                                                              sex. In
                                                                                                   In

my experience
my experience with
              with over
                   over 900 transgender adolescent
                        900 transgender adolescent patients
                                                   patients who
                                                            who met
                                                                met the
                                                                    the criteria
                                                                        criteria for
                                                                                 for gender
                                                                                     gender

dysphoria, only
dysphoria, only 66 have
                   have later
                        later come to identify
                              come to          with their
                                      identify with their sex
                                                          sex assigned
                                                              assigned at
                                                                       at birth
                                                                          birth (4
                                                                                (4 had
                                                                                   had not
                                                                                       not engaged
                                                                                           engaged

in medical
in medical interventions;
           interventions; 22 had
                             had received
                                 received puberty
                                          puberty delaying
                                                  delaying medications,
                                                           medications, stopped
                                                                        stopped those
                                                                                those

medications, and
medications, and their
                 their endogenous
                       endogenous puberty
                                  puberty resumed;
                                          resumed; none
                                                   none expressed regret around
                                                        expressed regret around their
                                                                                their gender
                                                                                      gender

exploration or
exploration or care).
               care).


                                                   6
                                                   6
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        21.
        21.     There is some
                There is some research on pre-pubertal
                              research on pre-pubertal children
                                                       children that
                                                                that has
                                                                     has been
                                                                         been described
                                                                              described as
                                                                                        as

showing high
showing high rates
             rates of
                   of "desistance"
                      “desistance” of
                                   of transgender
                                      transgender identity among pre-pubertal
                                                  identity among              children.44
                                                                 pre-pubertal children.

Because that
Because that research
             research included gender-non-conforming children
                      included gender-non-conforming children who
                                                              who did
                                                                  did not
                                                                      not necessarily
                                                                          necessarily identify
                                                                                      identify

as aa sex
as    sex different
          different than
                    than their
                         their birth-assigned
                               birth-assigned sex,
                                              sex, it
                                                   it can
                                                      can be
                                                          be misleading
                                                             misleading when
                                                                        when used
                                                                             used to
                                                                                  to talk
                                                                                     talk about
                                                                                          about

desistance of
desistance of transgender
              transgender identity.
                          identity. In other words,
                                    In other words, many
                                                    many of
                                                         of these
                                                            these youth
                                                                  youth did
                                                                        did not
                                                                            not identify as
                                                                                identify as

transgender, would
transgender, would not
                   not meet
                       meet the
                            the criteria
                                criteria of
                                         of gender
                                            gender dysphoria
                                                   dysphoria under
                                                             under the
                                                                   the current DSM 55 standards,
                                                                       current DSM    standards,

and would
and would not
          not be
              be included
                 included in
                          in studies
                             studies of
                                     of transgender
                                        transgender youth
                                                    youth today.
                                                          today. A
                                                                 A more
                                                                   more recent study of
                                                                        recent study of pre-
                                                                                        pre-

pubertal transgender
pubertal transgender children
                     children who
                              who had
                                  had socially
                                      socially transitioned
                                               transitioned (mean
                                                            (mean age
                                                                  age of
                                                                      of 8-years-old)
                                                                         8-years-old) reports
                                                                                      reports

2.5% of
2.5% of participants
        participants identified with their
                     identified with their designated
                                           designated sex
                                                      sex at
                                                          at birth
                                                             birth five
                                                                   five years
                                                                        years later (mean age
                                                                              later (mean age of
                                                                                              of 13-
                                                                                                 13-

years-old at
years-old    follow-up).55 Moreover,
          at follow-up).   Moreover, there
                                     there is
                                           is no
                                              no evidence
                                                 evidence that
                                                          that transgender
                                                               transgender adolescents
                                                                           adolescents are
                                                                                       are likely
                                                                                           likely to
                                                                                                  to

“desist” at
"desist" at high
            high rates.
                 rates. One
                        One study
                            study found
                                  found that
                                        that only
                                             only 3.5%
                                                  3.5% of
                                                       of adolescents
                                                          adolescents stopped
                                                                      stopped taking
                                                                              taking puberty
                                                                                     puberty

blockers because
blockers because they
                 they no
                      no longer wished to
                         longer wished to have
                                          have gender
                                               gender affirming treatment.6
                                                      affirming treatment.6

        22.
        22.     Some patients with
                Some patients with gender
                                   gender dysphoria may discontinue
                                          dysphoria may             gender-affirming medical
                                                        discontinue gender-affirming medical

interventions for
interventions for aa variety
                     variety of
                             of reasons,
                                reasons, including
                                         including having
                                                   having achieved
                                                          achieved their
                                                                   their transition
                                                                         transition goals
                                                                                    goals (e.g.,
                                                                                          (e.g., voice
                                                                                                 voice

deepening, facial
deepening, facial hair
                  hair growth),
                       growth), barriers
                                barriers to
                                         to accessing
                                            accessing care
                                                      care such
                                                           such as
                                                                as lack
                                                                   lack of
                                                                        of insurance,
                                                                           insurance, or
                                                                                      or family
                                                                                         family or
                                                                                                or

social pressure.
social pressure. Discontinuing
                 Discontinuing care
                               care should
                                    should not
                                           not be
                                               be interpreted
                                                  interpreted to
                                                              to mean
                                                                 mean that
                                                                      that the
                                                                           the patient
                                                                               patient has
                                                                                       has

“detransitioned” in
"detransitioned" in the
                    the sense
                        sense of
                              of coming
                                 coming to
                                        to identify
                                           identify with
                                                    with one's
                                                         one’s birth-assigned sex7 and
                                                               birth-assigned sex' and there
                                                                                       there are
                                                                                             are




4
  See, e.g.,
4 See,       Madeleine S.C.
       e.g., Madeleine      Wallien &
                       S.C. Wallien & Peggy
                                      Peggy T. Cohen-Kettenis, Psychosexual
                                            T. Cohen-Kettenis, Psychosexual Outcome of
                                                                            Outcome of
Gender-Dysphoric
Gender-Dysphoric Children,        47 J.
                       Children, 47     AM. ACAD.
                                     J. AM. ACAD. CHILD
                                                    CHILD && ADOLESCENT
                                                              ADOLESCENT PSYCHIATRY
                                                                             PSYCHIATRY 1413,
                                                                                           1413, 1413-23
                                                                                                 1413-23
(2008) (investigating
(2008)  (investigating which
                          which childhood
                                 childhood measures
                                            measures ofof gender  behavior related
                                                          gender behavior   related to
                                                                                    to "desistance").
                                                                                       “desistance”).
5
  Kristina R.
5 Kristina R. Olson
              Olson et.et. al.,
                           al., Gender  Identity 5
                                Gender Identity  5 Years After Social
                                                   Years After Social Transition,  150 PEDIATRICS
                                                                      Transition, 150   PEDIATRICS 1,
                                                                                                   1, 33
(2022).
(2022).
6
  Tessa Brik
6 Tessa Brik et
              et al.,
                 al., Trajectories  of Adolescents
                      Trajectories of  Adolescents Treated   with Gonadotropin-Releasing
                                                     Treated with                             Hormone
                                                                   Gonadotropin-Releasing Hormone
Analogues for
Analogues   for Gender      Dysphoria, 49
                 Gender Dysphoria,      49 ARCHIVES
                                           ARCHIVES S           BEHAV. 2611,
                                                        EXUAL BEHAV.
                                                       SEXUAL            2611, 2615
                                                                               2615 (2020).
                                                                                     (2020).
7
7 Jack
  Jack L. Turban et
       L. Turban   et al.,
                       al., Factors
                            Factors Leading
                                    Leading toto “Detransition”   Among Transgender
                                                 "Detransition" Among                    and Gender
                                                                           Transgender and   Gender
Diverse People
Diverse  People inin the
                      the United  States: A
                           United States: A Mixed-Methods
                                            Mixed-Methods Analysis,
                                                              Analysis, 88 LGBT
                                                                           LGBT HEALTH 273,273, 273-80
                                                                                                273-80
(2021).
(2021).
                                                   7
                                                   7
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no studies
no studies that
           that have
                have found
                     found that
                           that such
                                such an
                                     an experience
                                        experience is
                                                   is common among those
                                                      common among those who
                                                                         who receive
                                                                             receive gender
                                                                                     gender

affirming medical
affirming medical care.
                  care.

   C.
   C. The
      The Treatment of Gender
          Treatment of        Dysphoria
                       Gender Dysphoria

       23.
       23.     Being transgender
               Being transgender or
                                 or gender
                                    gender diverse alone is
                                           diverse alone is not
                                                            not pathological;
                                                                pathological; aa person's
                                                                                 person’s gender
                                                                                          gender

identity is
identity is not
            not aa medical
                   medical condition
                           condition or
                                     or the
                                        the target
                                            target of
                                                   of treatment.
                                                      treatment. DSM-5
                                                                 DSM-5 states
                                                                       states that
                                                                              that treatments
                                                                                   treatments for
                                                                                              for

the diagnosis
the           of gender
    diagnosis of gender dysphoria
                        dysphoria should
                                  should be
                                         be focused
                                            focused on
                                                    on alleviating
                                                       alleviating the
                                                                   the distress/impairment
                                                                       distress/impairment of
                                                                                           of

function stemming from
function stemming      the incongruence
                  from the incongruence between
                                        between the
                                                the patient's
                                                    patient’s gender
                                                              gender identity
                                                                     identity and
                                                                              and birth-
                                                                                  birth-

assigned sex,
assigned sex, not
              not trying
                  trying to
                         to change
                            change the
                                   the patient's
                                       patient’s gender
                                                 gender identity.
                                                        identity.

       24.
       24.     Gender dysphoria
               Gender           can be
                      dysphoria can be debilitating
                                       debilitating and
                                                    and cause significant impairment
                                                        cause significant impairment in
                                                                                     in

function. It is
function. It is well
                well recognized that transgender
                     recognized that transgender adolescents
                                                 adolescents and
                                                             and young
                                                                 young adults
                                                                       adults are
                                                                              are aa vulnerable
                                                                                     vulnerable

population at
population at higher
              higher risk
                     risk for depression/anxiety, suicidal
                          for depression/anxiety, suicidal ideation
                                                           ideation and
                                                                    and suicide
                                                                        suicide attempts.
                                                                                attempts. The
                                                                                          The

Youth Risk
Youth Risk and
           and Behavior
               Behavior Survey (YRBS) is
                        Survey (YRBS)    an ongoing
                                      is an ongoing study
                                                    study conducted by the
                                                          conducted by the Center
                                                                           Center for
                                                                                  for

Disease Control
Disease Control that
                that obtains
                     obtains data
                             data on
                                  on variables
                                     variables relevant
                                               relevant to
                                                        to adolescents
                                                           adolescents in the United
                                                                       in the United States. Data
                                                                                     States. Data

from states that
from states that ask
                 ask about
                     about and
                           and can analyze variables
                               can analyze variables related
                                                     related to
                                                             to gender
                                                                gender identity
                                                                       identity found that
                                                                                found that

adolescents who
adolescents who are
                are gender
                    gender diverse,
                           diverse, when
                                    when compared
                                         compared to
                                                  to cisgender
                                                     cisgender peers,
                                                               peers, had
                                                                      had higher
                                                                          higher rates
                                                                                 rates of
                                                                                       of

consideration of
consideration of suicide
                 suicide (45%
                         (45% vs
                              vs 10-20%)
                                 10-20%) and
                                         and attempted
                                             attempted suicide
                                                       suicide (35%
                                                               (35% vs.
                                                                    vs. less
                                                                        less than 10%).8
                                                                             than 10%).8

       25.
       25.     Without treatment,
               Without treatment, adolescents
                                  adolescents and
                                              and young
                                                  young adults
                                                        adults with
                                                               with gender
                                                                    gender dysphoria
                                                                           dysphoria can
                                                                                     can

experience symptoms
experience symptoms that
                    that make
                         make very
                              very basic
                                   basic tasks
                                         tasks feel impossible such
                                               feel impossible such as
                                                                    as showering,
                                                                       showering, eating,
                                                                                  eating,

attending school,
attending school, or
                  or socializing.
                     socializing. Clinically,
                                  Clinically, many
                                              many of
                                                   of my
                                                      my patients
                                                         patients report
                                                                  report not participating in
                                                                         not participating in class
                                                                                              class

due to
due to discomfort
       discomfort with
                  with their
                       their voice,
                             voice, avoiding
                                    avoiding the
                                             the use
                                                 use of
                                                     of bathrooms
                                                        bathrooms throughout
                                                                  throughout the
                                                                             the school
                                                                                 school day,
                                                                                        day,




8
  Michelle M.
8 Michelle M. Johns et al.,
              Johns et al., Transgender Identity and
                            Transgender Identity and Experiences
                                                     Experiences of
                                                                 of Violence
                                                                    Violence Victimization,
                                                                             Victimization,
Substance Use,
Substance       Suicide Risk,
           Use, Suicide Risk, and
                              and Sexual
                                  Sexual Risk
                                          Risk Behaviors
                                               Behaviors Among
                                                         Among High
                                                               High School
                                                                    School Students-19
                                                                           Students–19 States
                                                                                        States
and Large
and  Large Urban  School Districts,
           Urban School  Districts, 2017,
                                    2017, MORBIDITY
                                          MORBIDITY & & MORTALITY
                                                        MORTALITY WKLY.
                                                                  WKLY. REP.,
                                                                         REP., Jan. 25, 2019,
                                                                               Jan. 25, 2019,
at 67,
at 67, 69.
       69.
                                                 8
                                                 8
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avoiding physical
avoiding physical activity
                  activity due
                           due to
                               to body
                                  body discomfort,
                                       discomfort, as
                                                   as well
                                                      well as
                                                           as discomfort
                                                              discomfort leaving the house
                                                                         leaving the house in
                                                                                           in

general. Delays
general. Delays in
                in treatment
                   treatment can
                             can exacerbate symptoms, creating
                                 exacerbate symptoms, creating more
                                                               more impairment
                                                                    impairment and
                                                                               and

psychological distress.
psychological distress. A
                        A recent study of
                          recent study of adults
                                          adults showed
                                                 showed that
                                                        that longer wait times
                                                             longer wait times to
                                                                               to establish
                                                                                  establish care at
                                                                                            care at

aa gender
   gender clinic
          clinic resulted
                 resulted in low mood,
                          in low mood, worsening
                                       worsening suicidal
                                                 suicidal ideation
                                                          ideation and
                                                                   and poorer
                                                                       poorer quality
                                                                              quality of life.99
                                                                                      of life.

       26.
       26.     The
               The World Professional Association
                   World Professional Association for Transgender Health
                                                  for Transgender Health (WPATH)
                                                                         (WPATH) Standards
                                                                                 Standards

of Care
of Care for
        for the
            the Health
                Health of
                       of Transgender
                          Transgender and
                                      and Gender
                                          Gender Diverse
                                                 Diverse People
                                                         People are
                                                                are the
                                                                    the most
                                                                        most widely
                                                                             widely adopted
                                                                                    adopted

clinical practice
clinical practice guidelines for the
                  guidelines for the treatment
                                     treatment of
                                               of transgender
                                                  transgender and
                                                              and gender
                                                                  gender diverse
                                                                         diverse individuals.
                                                                                 individuals. The
                                                                                              The

Standards of Care
Standards of Care (SOC)
                  (SOC) were
                        were first published in
                             first published    1979 and
                                             in 1979 and the
                                                         the most
                                                             most recent
                                                                  recent iteration
                                                                         iteration (SOC
                                                                                   (SOC 8)
                                                                                        8) was
                                                                                           was

published in
published    2022.10 Per
          in 2022.10 Per the
                         the methodology
                             methodology described
                                         described by
                                                   by WPATH
                                                      WPATH "SOC-8
                                                            “SOC-8 is based on
                                                                   is based on the
                                                                               the best
                                                                                   best

available science
available science and
                  and expert professional consensus
                      expert professional consensus in
                                                    in transgender
                                                       transgender health.
                                                                   health. International
                                                                           International

professionals and
professionals and stakeholders
                  stakeholders were
                               were selected
                                    selected to
                                             to serve
                                                serve on
                                                      on the
                                                         the SOC-8
                                                             SOC-8 committee.
                                                                   committee.

Recommendation statements
Recommendation statements were
                          were developed
                               developed based
                                         based on
                                               on data derived from
                                                  data derived      independent systematic
                                                               from independent systematic

literature reviews,
literature reviews, where
                    where available,
                          available, background
                                     background reviews
                                                reviews and
                                                        and expert opinions.”11 SOC
                                                            expert opinions."11 SOC 8 provides
                                                                                    8 provides

detailed guidance
detailed guidance for
                  for evaluation of gender
                      evaluation of gender dysphoria and criteria
                                           dysphoria and criteria for medical intervention,
                                                                  for medical intervention, as
                                                                                            as

well as
well as procedures
        procedures for hormone treatment
                   for hormone treatment and
                                         and surgery
                                             surgery when indicated.12
                                                     when indicated.12

       27.
       27.     The
               The Endocrine
                   Endocrine Society has also
                             Society has also published
                                              published aa widely
                                                           widely adopted
                                                                  adopted clinical
                                                                          clinical practice
                                                                                   practice

guideline for
guideline     the treatment
          for the treatment of
                            of gender dysphoria (Endocrine
                               gender dysphoria (Endocrine Society Guideline) to
                                                           Society Guideline) to help
                                                                                 help guide
                                                                                      guide




9
  N. Henderson
9 N. Henderson et al., The
               et al.,     Impact of
                       The Impact of Gender Identity Clinic
                                     Gender Identity Clinic Waiting
                                                            Waiting Times on the
                                                                    Times on     Mental Health
                                                                             the Mental Health
of Transitioning
of                Individuals, 65
    Transitioning Individuals,   65 E  UR. PSYCHIATRY
                                     EUR.  PSYCHIATRY S851    (2022)
                                                        S851 (2022)
10
10 E.  Coleman et
   E. Coleman      al., Standards
                et al., Standards ofof Care  for the
                                       Carefor       Health of
                                                 the Health of Transgender and Gender
                                                               Transgender and        Diverse
                                                                               Gender Diverse
People, Version
People,           8, 23
          Version 8, 23 IINT'L
                          NT’L J.
                               J. T                HEALTH S1
                                   RANSGENDER HEALTH
                                  TRANSGENDER                  (2022).
                                                            S1 (2022).
11
   Id. at
11 Id. at S3.
          S3.
12 id.
12
   Id.
                                                  99
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providers working
providers working with
                  with gender
                       gender diverse adolescents and
                              diverse adolescents     adults.13 The
                                                  and adults.13 The SOC
                                                                    SOC 8 and Endocrine
                                                                        8 and Endocrine

Society Guideline have
Society Guideline have aa high
                          high degree
                               degree of
                                      of overlap
                                         overlap and
                                                 and consensus
                                                     consensus regarding
                                                               regarding best
                                                                         best practices.
                                                                              practices.

       28.
       28.     The American Psychological
               The American Psychological Association
                                          Association (APA)
                                                      (APA) also
                                                            also released
                                                                 released guidelines specific
                                                                          guidelines specific
                                                                     14
to the
to the provision
       provision of
                 of mental
                    mental health
                           health care
                                  care to
                                       to gender
                                          gender diverse
                                                 diverse individuals.
                                                         individuals.14 The APA defines
                                                                        The APA defines gender
                                                                                        gender

affirming care
affirming care to
               to be
                  be "care
                     “care that
                           that is
                                is respectful, aware, and
                                   respectful, aware, and supportive
                                                          supportive of
                                                                     of the
                                                                        the identities and life
                                                                            identities and life

experiences of
experiences of [transgender
               [transgender and
                            and gender
                                gender non-conforming] people.”15 Gender
                                       non-conforming] people."15        affirming care
                                                                  Gender affirming      is
                                                                                   care is

creating aa safe,
creating    safe, therapeutic
                  therapeutic space
                              space where
                                    where individuals can grow,
                                          individuals can grow, evolve
                                                                evolve and
                                                                       and understand
                                                                           understand themselves
                                                                                      themselves

more completely,
more completely, wherever
                 wherever their
                          their path
                                path may
                                     may lead.
                                         lead.

       29.
       29.     As stated
               As stated above,
                         above, these
                                these guidelines
                                      guidelines are
                                                 are widely
                                                     widely accepted
                                                            accepted in the professional
                                                                     in the professional

community. They
community. They have
                have analyzed
                     analyzed all
                              all available
                                  available scientific
                                            scientific research, and are
                                                       research, and are widely
                                                                         widely referenced
                                                                                referenced and
                                                                                           and

endorsed by
endorsed by all
            all major
                major U.S.
                      U.S. medical
                           medical and
                                   and mental
                                       mental health
                                              health associations.
                                                     associations.

       30.
       30.     The
               The SOC
                   SOC 8 and Endocrine
                       8 and Endocrine Society Guideline described
                                       Society Guideline described above
                                                                   above emphasize
                                                                         emphasize the
                                                                                   the

importance of
importance of mental
              mental health
                     health assessments
                            assessments and
                                        and evaluations
                                            evaluations in
                                                        in the
                                                           the treatment
                                                               treatment of
                                                                         of gender
                                                                            gender diverse
                                                                                   diverse

adolescents. Beyond
adolescents. Beyond assessing
                    assessing eligibility criteria for
                              eligibility criteria     medical interventions
                                                   for medical interventions (puberty-delay,
                                                                             (puberty-delay,

hormones, or
hormones, or surgery),
             surgery), which
                       which will
                             will be
                                  be discussed
                                     discussed below,
                                               below, mental
                                                      mental health
                                                             health providers
                                                                    providers can facilitate
                                                                              can facilitate

exploration and
exploration and deepen
                deepen understanding
                       understanding of
                                     of an
                                        an individual’s gender, help
                                           individual's gender, help manage
                                                                     manage anxiety/depression
                                                                            anxiety/depression

or other
or other mental
         mental health
                health diagnoses related to
                       diagnoses related to gender dysphoria, provide
                                            gender dysphoria, provide support
                                                                      support related to social
                                                                              related to social

transition (e.g.
transition (e.g. dressing
                 dressing and
                          and using
                              using names
                                    names and
                                          and pronouns
                                              pronouns that
                                                       that accord
                                                            accord with
                                                                   with one's
                                                                        one’s gender
                                                                              gender identity),
                                                                                     identity),

provide education
provide education to
                  to caregivers to increase
                     caregivers to increase support
                                            support and
                                                    and positive
                                                        positive communication,
                                                                 communication, and
                                                                                and enhance
                                                                                    enhance




13
   Wylie C.
13 Wylie C. Hembree
            Hembree et al., Endocrine
                    et al., Endocrine Treatment of Gender-Dysphoric/Gender-Incongruent
                                      Treatment of Gender-Dysphoric/Gender-Incongruent
Persons: An
Persons:   An Endocrine
              Endocrine Society
                        Society Clinical Practice Guideline,
                                Clinical Practice            102 J.
                                                  Guideline, 102    CLINICAL E
                                                                 J. CLINICAL   NDOCRINOLOGY &
                                                                             ENDOCRINOLOGY   &
METABOLISM 33869
METABOLISM          (2017).
                869 (2017).
14
   American Psychological
14 American   Psychological Association,
                            Association, Guidelines for Psychological
                                         Guidelinesfor  Psychological Practice
                                                                      Practice with
                                                                               with Transgender
                                                                                    Transgender
and Gender
and           Nonconforming People,
     Gender Nonconforming    People, AM.
                                     AM. PSYCH.
                                          PSYCH. 832  (2015).
                                                  832 (2015).
15
   Id. at
15 Id. at 832-33.
          832-33.
                                                 10
                                                 10
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coping skills
coping skills to
              to manage
                 manage discrimination/minority
                        discrimination/minority stress.
                                                stress. For
                                                        For some,
                                                            some, non-medical
                                                                  non-medical interventions
                                                                              interventions

such as
such as social
        social transition,
               transition, creating
                           creating gender
                                    gender congruent
                                           congruent expression, and getting
                                                     expression, and getting social
                                                                             social support
                                                                                    support of
                                                                                            of their
                                                                                               their

identity is
identity is sufficient
            sufficient to
                       to manage
                          manage gender
                                 gender dysphoria.
                                        dysphoria. For
                                                   For many
                                                       many others,
                                                            others, medical
                                                                    medical intervention
                                                                            intervention is
                                                                                         is

clinically indicated.
clinically indicated.

       31.
       31.     Under the
               Under the WPATH
                         WPATH SOC
                               SOC 8 and the
                                   8 and the Endocrine
                                             Endocrine Society Guideline, no
                                                       Society Guideline, no medical
                                                                             medical

interventions are
interventions are recommended
                  recommended or
                              or indicated
                                 indicated for the treatment
                                           for the treatment of
                                                             of gender
                                                                gender dysphoria
                                                                       dysphoria prior
                                                                                 prior to
                                                                                       to the
                                                                                          the

onset of
onset of puberty
         puberty (otherwise
                 (otherwise referred
                            referred to
                                     to as
                                        as Tanner
                                           Tanner Stage 2). Prior
                                                  Stage 2). Prior to
                                                                  to Tanner
                                                                     Tanner Stage 2, the
                                                                            Stage 2, the

recommended care
recommended      is to
            care is to help
                       help youth
                            youth in
                                  in their
                                     their gender
                                           gender exploration, and provide
                                                  exploration, and provide support
                                                                           support to
                                                                                   to youth
                                                                                      youth and
                                                                                            and

families as
families as described
            described above.
                      above.

       32.
       32.     Once puberty
               Once puberty begins,
                            begins, many
                                    many adolescents
                                         adolescents with
                                                     with gender
                                                          gender dysphoria
                                                                 dysphoria will
                                                                           will experience
                                                                                experience

great distress
great distress related
               related to
                       to the
                          the changes in their
                              changes in their bodies
                                               bodies that
                                                      that do
                                                           do not
                                                              not match
                                                                  match their
                                                                        their gender identity. For
                                                                              gender identity. For

some of
some of these
        these youth,
              youth, medical
                     medical interventions
                             interventions may
                                           may be
                                               be deemed
                                                  deemed necessary.
                                                         necessary. They may include
                                                                    They may include

puberty blockers
puberty blockers (GnRH
                 (GnRH agonists)
                       agonists) to
                                 to pause
                                    pause puberty,
                                          puberty, hormone
                                                   hormone therapy
                                                           therapy in accordance with
                                                                   in accordance with one's
                                                                                      one’s

gender identity
gender          (e.g. testosterone
       identity (e.g. testosterone for transgender boys
                                   for transgender boys and
                                                        and estrogen and anti-androgens
                                                            estrogen and anti-androgens for
                                                                                        for

transgender girls),
transgender girls), and
                    and sometimes
                        sometimes surgery.
                                  surgery. Pausing
                                           Pausing puberty
                                                   puberty with
                                                           with blockers
                                                                blockers can help prevent
                                                                         can help prevent the
                                                                                          the

distress associated
distress associated with
                    with physical
                         physical changes
                                  changes inconsistent
                                          inconsistent with
                                                       with an
                                                            an adolescent's
                                                               adolescent’s gender identity and
                                                                            gender identity and

also provide
also provide the
             the adolescent
                 adolescent more
                            more time
                                 time to
                                      to understand
                                         understand their
                                                    their gender
                                                          gender identity before considering
                                                                 identity before considering less
                                                                                             less

reversible treatments.
reversible treatments. Hormone
                       Hormone therapy
                               therapy and
                                       and surgery
                                           surgery can
                                                   can alleviate
                                                       alleviate the
                                                                 the distress of gender
                                                                     distress of gender

dysphoria by
dysphoria by helping
             helping align
                     align the
                           the adolescent's
                               adolescent’s body
                                            body with
                                                 with their
                                                      their gender
                                                            gender identity.
                                                                   identity.

       33.
       33.     The WPATH SOC
               The WPATH     and the
                         SOC and the Endocrine
                                     Endocrine Society Guideline outline
                                               Society Guideline outline criteria
                                                                         criteria for
                                                                                  for

eligibility for
eligibility for medical
                medical interventions
                        interventions for adolescents with
                                      for adolescents with gender
                                                           gender dysphoria
                                                                  dysphoria including
                                                                            including

a) significant
a) significant duration
               duration of
                        of gender
                           gender incongruity, b) the
                                  incongruity, b) the diagnostic
                                                      diagnostic criteria
                                                                 criteria for gender dysphoria
                                                                          for gender dysphoria are
                                                                                               are

met, c)
met, c) the
        the adolescent
            adolescent has
                       has the
                           the emotional
                               emotional and
                                         and cognitive capacity to
                                             cognitive capacity to provide
                                                                   provide informed
                                                                           informed consent
                                                                                    consent



                                                 11
                                                 11
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regarding the
regarding the treatment
              treatment they
                        they are
                             are seeking;
                                 seeking; d)
                                          d) any
                                             any other
                                                 other mental
                                                       mental health
                                                              health conditions
                                                                     conditions do
                                                                                do not
                                                                                   not interfere
                                                                                       interfere

with diagnostic
with diagnostic clarity or ability
                clarity or ability to
                                   to consent and e)
                                      consent and    the patient
                                                  e) the patient and
                                                                 and their
                                                                     their family
                                                                           family is
                                                                                  is fully
                                                                                     fully informed
                                                                                           informed

of potential
of potential risks
             risks and
                   and fertility preservation options.
                       fertility preservation options.

       34.
       34.     To
               To determine if the
                  determine if the eligibility criteria are
                                   eligibility criteria are met
                                                            met and
                                                                and if
                                                                    if medical
                                                                       medical interventions
                                                                               interventions are
                                                                                             are

appropriate for
appropriate for an
                an adolescent
                   adolescent patient,
                              patient, the
                                       the SOC
                                           SOC 88 and
                                                  and Endocrine
                                                      Endocrine Society Guideline recommend
                                                                Society Guideline recommend aa

comprehensive psychosocial
comprehensive psychosocial assessment.
                           assessment. Assessment
                                       Assessment procedures
                                                  procedures can
                                                             can vary
                                                                 vary based
                                                                      based on
                                                                            on the
                                                                               the practice
                                                                                   practice

setting, discipline
setting, discipline of
                    of the
                       the provider
                           provider conducting
                                    conducting the
                                               the assessment,
                                                   assessment, presence
                                                               presence of
                                                                        of neurodiversity,
                                                                           neurodiversity, or
                                                                                           or other
                                                                                              other

individual patient
individual patient considerations/needs.
                   considerations/needs.

       35.
       35.     During the
               During the assessment,
                          assessment, aa thorough
                                         thorough history
                                                  history and
                                                          and diagnosis
                                                              diagnosis of
                                                                        of gender
                                                                           gender dysphoria
                                                                                  dysphoria

(evolution of
(evolution of identity,
              identity, onset
                        onset of
                              of symptoms,
                                 symptoms, types
                                           types of
                                                 of symptoms
                                                    symptoms experienced,
                                                             experienced, disclosure
                                                                          disclosure of
                                                                                     of identity,
                                                                                        identity,

impairment experienced)
impairment experienced) is obtained. It
                        is obtained. It is important to
                                        is important to understand
                                                        understand fully how identity
                                                                   fully how identity has
                                                                                      has

developed over
developed over time
               time and
                    and how
                        how their
                            their gender
                                  gender dysphoria
                                         dysphoria manifests.
                                                   manifests. Some patients who
                                                              Some patients who are
                                                                                are evaluated
                                                                                    evaluated

do not
do not meet
       meet the
            the criteria
                criteria for
                         for gender
                             gender dysphoria (either due
                                    dysphoria (either due to
                                                          to symptom
                                                             symptom length or lack
                                                                     length or      of
                                                                               lack of

symptoms), in
symptoms),    which case
           in which case aa treatment
                            treatment plan
                                      plan may
                                           may include
                                               include non-medical
                                                       non-medical support
                                                                   support and
                                                                           and intervention to
                                                                               intervention to

address symptoms/distress.
address symptoms/distress.

       36.
       36.     Evaluation of co-occurring
               Evaluation of co-occurring mental
                                          mental health
                                                 health disorders
                                                        disorders is
                                                                  is also
                                                                     also obtained.
                                                                          obtained. If other
                                                                                    If other

conditions are
conditions are present,
               present, it
                        it is
                           is important
                              important to
                                        to understand
                                           understand how/if
                                                      how/if other
                                                             other diagnoses
                                                                   diagnoses are
                                                                             are related to gender
                                                                                 related to gender

dysphoria and
dysphoria and ensure that other
              ensure that other mental
                                mental health
                                       health needs
                                              needs are
                                                    are getting
                                                        getting adequate
                                                                adequate support
                                                                         support and
                                                                                 and are
                                                                                     are

addressed. Further
addressed. Further assessment
                   assessment or
                              or testing
                                 testing may
                                         may be
                                             be needed
                                                needed to
                                                       to fully
                                                          fully understand more complex
                                                                understand more complex

presentations (e.g.,
presentations (e.g., challenging
                     challenging psychopathology,
                                 psychopathology, co-occurring neurodiversity) prior
                                                  co-occurring neurodiversity) prior to
                                                                                     to initiating
                                                                                        initiating

medical intervention.
medical               The presence
        intervention. The presence of
                                   of co-occurring disorders does
                                      co-occurring disorders      not preclude
                                                             does not preclude eligibility
                                                                               eligibility for
                                                                                           for

medical intervention.
medical intervention. Gender
                      Gender dysphoria
                             dysphoria can
                                       can contribute
                                           contribute to
                                                      to symptoms
                                                         symptoms of
                                                                  of depression, anxiety,
                                                                     depression, anxiety,

eating disorder,
eating disorder, etc., thus we
                 etc., thus we often
                               often cannot
                                     cannot expect
                                            expect symptoms
                                                   symptoms to
                                                            to improve
                                                               improve or
                                                                       or be
                                                                          be in
                                                                             in remission until
                                                                                remission until



                                                  12
                                                  12
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the gender
the        dysphoria is
    gender dysphoria is treated.
                        treated. Any
                                 Any co-occurring
                                     co-occurring mental
                                                  mental health
                                                         health issue
                                                                issue should
                                                                      should be
                                                                             be managed
                                                                                managed

enough so
enough so that
          that it
               it is not interfering
                  is not interfering in
                                     in the
                                        the diagnostic
                                            diagnostic picture
                                                       picture or
                                                               or impairing one’s judgment
                                                                  impairing one's judgment or
                                                                                           or ability
                                                                                              ability

to make
to make informed
        informed decisions.
                 decisions. In
                            In some
                               some cases,
                                    cases, further
                                           further testing
                                                   testing or
                                                           or therapy
                                                              therapy may
                                                                      may be
                                                                          be needed
                                                                             needed to
                                                                                    to address
                                                                                       address

this criterion
this           prior to
     criterion prior to recommending
                        recommending medical
                                     medical intervention.
                                             intervention.

       37.
       37.     The assessment should
               The assessment should also
                                     also include an evaluation
                                          include an evaluation of
                                                                of an
                                                                   an adolescent's
                                                                      adolescent’s ability
                                                                                   ability to
                                                                                           to

understand the
understand the potential
               potential risks,
                         risks, benefits,
                                benefits, and
                                          and long-term consequences of
                                              long-term consequences of treatment.
                                                                        treatment. Treatment
                                                                                   Treatment

options should
options should be
               be discussed
                  discussed thoroughly,
                            thoroughly, including changes (both
                                        including changes (both reversible
                                                                reversible and
                                                                           and permanent),
                                                                               permanent),

timeline for
timeline for when
             when changes
                  changes occur,
                          occur, realistic
                                 realistic expectations
                                           expectations of
                                                        of physical
                                                           physical changes,
                                                                    changes, medical
                                                                             medical risks
                                                                                     risks and
                                                                                           and

side effects,
side effects, and
              and potential
                  potential implications for fertility
                            implications for fertility and
                                                       and fertility
                                                           fertility preservation
                                                                     preservation options.
                                                                                  options. As
                                                                                           As with
                                                                                              with all
                                                                                                   all

medicine, information
medicine, information should
                      should be
                             be presented
                                presented in
                                          in aa developmentally
                                                developmentally appropriate
                                                                appropriate manner
                                                                            manner to
                                                                                   to both
                                                                                      both the
                                                                                           the

adolescent and
adolescent and caregivers.
               caregivers. Information
                           Information should
                                       should be
                                              be presented
                                                 presented using
                                                           using the
                                                                 the current
                                                                     current evidence available.
                                                                             evidence available.

Once an
Once an adolescent
        adolescent has
                   has been
                       been provided
                            provided all
                                     all the
                                         the information necessary to
                                             information necessary to make
                                                                      make an
                                                                           an informed
                                                                              informed choice,
                                                                                       choice,

if they
if they want
        want to
             to proceed
                proceed with
                        with the
                             the treatment,
                                 treatment, they
                                            they must
                                                 must provide
                                                      provide assent
                                                              assent and
                                                                     and their
                                                                         their parent
                                                                               parent or
                                                                                      or guardian
                                                                                         guardian

must provide
must provide consent.
             consent.

   D. Efficacy
   D.          of Medical
      Efficacy of Medical Treatment
                          Treatment for
                                    for Gender Dysphoria
                                        Gender Dysphoria

       38.
       38.     In the years
               In the years that
                            that II have
                                    have been
                                         been seeing
                                              seeing patients
                                                     patients with
                                                              with gender
                                                                   gender dysphoria,
                                                                          dysphoria, II have
                                                                                        have

clinically seen
clinically seen the
                the life-changing—and sometimes life-saving—benefits
                    life-changing—and sometimes life-saving—benefits of
                                                                     of gender-affirming
                                                                        gender-affirming

medical interventions.
medical                Not only
        interventions. Not only do
                                do II see
                                      see improvements
                                          improvements in depression, anxiety,
                                                       in depression, anxiety, and
                                                                               and suicidal
                                                                                   suicidal

ideation, but
ideation, but II have
                 have seen
                      seen significant
                           significant improvements
                                       improvements in
                                                    in overall
                                                       overall daily
                                                               daily functioning
                                                                     functioning in
                                                                                 in adolescents
                                                                                    adolescents

after receiving
after receiving gender-affirming
                gender-affirming medical
                                 medical care.
                                         care. Adolescents
                                               Adolescents who
                                                           who were
                                                               were previously
                                                                    previously too
                                                                               too anxious
                                                                                   anxious to
                                                                                           to

attend school
attend school in person are
              in person are now
                            now going
                                going to
                                      to school
                                         school and
                                                and thriving
                                                    thriving academically.
                                                             academically. They are now
                                                                           They are now able
                                                                                        able to
                                                                                             to

make friends,
make friends, date, and work,
              date, and work, and
                              and do
                                  do so
                                     so with
                                        with confidence.
                                             confidence. Caregivers
                                                         Caregivers have
                                                                    have often
                                                                         often commented
                                                                               commented on
                                                                                         on




                                                  13
                                                  13
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the weight
the weight that
           that has
                has been
                    been lifted
                         lifted from their child
                                from their child or
                                                 or how
                                                    how happy
                                                        happy they
                                                              they are
                                                                   are to
                                                                       to see
                                                                          see their
                                                                              their child
                                                                                    child thriving
                                                                                          thriving

again.
again.

         39.
         39.     Research conducted
                 Research conducted in this area
                                    in this area echoes what II have
                                                 echoes what    have seen
                                                                     seen clinically. A substantial
                                                                          clinically. A substantial

body of
body of evidence shows the
        evidence shows the efficacy of gender
                           efficacy of gender affirming
                                              affirming medical
                                                        medical care.
                                                                care. Studies have
                                                                      Studies have

demonstrated improvements
demonstrated improvements in mental health
                          in mental        following gender-affirming
                                    health following                  medical
                                                     gender-affirming medical

interventions.16 Many
interventions.16 Many of
                      of these
                         these studies
                               studies demonstrate
                                       demonstrate improvement
                                                   improvement in depression and
                                                               in depression and anxiety
                                                                                 anxiety

symptoms, quality
symptoms, quality of
                  of life indicators, as
                     life indicators, as well
                                         well as
                                              as reductions
                                                 reductions in
                                                            in suicidal
                                                               suicidal ideation and attempts.
                                                                        ideation and attempts.

         40.
         40.     Moreover, as
                 Moreover, as II have
                                 have seen
                                      seen in
                                           in my
                                              my experience
                                                 experience as
                                                            as aa clinician
                                                                  clinician the
                                                                            the use
                                                                                use of
                                                                                    of hormone
                                                                                       hormone

blockers and
blockers and cross-sex hormone therapy
             cross-sex hormone therapy during adolescence can
                                       during adolescence can prevent
                                                              prevent the
                                                                      the need
                                                                          need for
                                                                               for future
                                                                                   future

medical treatments
medical treatments (such
                   (such as
                         as surgeries
                            surgeries to
                                      to remove or alter
                                         remove or alter secondary
                                                         secondary sex
                                                                   sex characteristics)
                                                                       characteristics) and
                                                                                        and allow
                                                                                            allow

for more favorable
for more           future outcomes.
         favorable future outcomes. This,
                                    This, in
                                          in turn,
                                             turn, reduces
                                                   reduces the
                                                           the gender
                                                               gender dysphoria
                                                                      dysphoria associated
                                                                                associated with
                                                                                           with

one’s body
one's body failing to align
           failing to align with
                            with one's
                                 one’s gender
                                       gender identity.
                                              identity.

         41.
         41.     There are no
                 There are no scientific
                              scientific studies
                                         studies demonstrating that non-medical
                                                 demonstrating that non-medical treatments
                                                                                treatments alone
                                                                                           alone

(such as
(such as therapy
         therapy only)
                 only) are
                       are effective
                           effective in
                                     in the
                                        the treatment
                                            treatment of
                                                      of gender dysphoria.
                                                         gender dysphoria.




16
   See e.g.,
16 See e.g., Diane
             Diane Chen
                   Chen et
                        et al.,
                           al., Psychological
                                Psychological Functioning
                                              Functioning in
                                                          in Transgender
                                                             Transgender Youth After 2
                                                                         Youth After 2 Years of
                                                                                       Years of
Hormones, 388
Hormones,   388 NEW
                 NEW E  NG. J.
                      ENG.     MED. 240,
                            J. MED.   240, 245-247
                                            245-247 (2023)
                                                       (2023) (demonstrating
                                                               (demonstrating increased
                                                                                  increased mental
                                                                                                mental health
                                                                                                        health
benefits from
benefits from gender
              gender affirming
                      affirming care
                                  care for
                                        for transgender
                                            transgender people);
                                                          people); Amy
                                                                    Amy E.     Green et
                                                                            E. Green    et al.,
                                                                                           al., Association
                                                                                                Association ofof
Gender-Affirming   Hormone Therapy
Gender-Affirming Hormone                  with Depression,
                               Therapy with     Depression, Thoughts
                                                              Thoughts of of Suicide,
                                                                             Suicide, and
                                                                                        and Attempted
                                                                                              Attempted
Suicide Among
Suicide Among Transgender
                Transgender andand Nonbinary
                                    Nonbinary Youth,
                                                  Youth, 70
                                                         70 J.  ADOLESCENT HEALTH
                                                             J. ADOLESCENT      HEALTH 643, 643, 647-48
                                                                                                   647-48
(2022) (same);
(2022) (same); Jack
                Jack L. Turban et
                     L. Turban   et al.,
                                    al., Pubertal
                                         Pubertal Suppression
                                                    Suppression for
                                                                  for Transgender
                                                                       Transgender Youth        and Risk
                                                                                        Youth and    Risk of
                                                                                                          of
Suicidal Ideation,
Suicidal Ideation, 145
                   145 PEDIATRICS
                        PEDIATRICS 1,1, 33 (2020)
                                           (2020) (same);
                                                   (same); Annelou
                                                            Annelou L.C.
                                                                       L.C. dede Vries
                                                                                 Vries etet al.,
                                                                                             al., Puberty
                                                                                                  Puberty
Suppression in
Suppression     Adolescents with
             in Adolescents  with Gender      Identity Disorder:
                                   Gender Identity     Disorder: AA Prospective
                                                                     Prospective Follow-Up
                                                                                    Follow-Up Study,Study, 88 J.
                                                                                                              J.
S        MED. 2276,
  EXUAL MED.
SEXUAL         2276, 2281-90
                     2281-90 (2011)
                                (2011) (same);
                                         (same); Rosalia
                                                  Rosalia Costa
                                                           Costa etet al.,
                                                                      al., Psychological
                                                                           Psychological Support,
                                                                                              Support,
Puberty Suppression,
Puberty  Suppression, and
                      and Psychosocial
                           Psychosocial Functioning
                                             Functioning in   Adolescents with
                                                           in Adolescents    with Gender      Dysphoria, 12
                                                                                   Gender Dysphoria,        12
J.
J. S       MED. 2206,
    EXUAL MED.
   SEXUAL        2206, 2212-13
                        2212-13 (2015)
                                  (2015) (same);
                                           (same); Annelou
                                                     Annelou L.C.    de Vries
                                                               L.C. de   Vries et
                                                                                et al.,
                                                                                   al., Young     Adult
                                                                                        Young Adult
Psychological Outcome
Psychological            After Puberty
               Outcome After    Puberty Suppression
                                           Suppression and
                                                         and Gender     Reassignment, 134
                                                              Gender Reassignment,          134 PEDIATRICS
                                                                                                  PEDIATRICS
696,
696, 701-03  (2014) (same).
     701-03 (2014)  (same).
                                                       14
                                                       14
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   E. Harm to
   E. Harm to Transgender
              Transgender Youth
                          Youth if
                                if Care
                                   Care is Restricted
                                        is Restricted

       42.
       42.     Withholding or
               Withholding or discontinuing
                              discontinuing widely
                                            widely accepted,
                                                   accepted, effective
                                                             effective medical
                                                                       medical care
                                                                               care from
                                                                                    from

adolescents with
adolescents with gender
                 gender dysphoria
                        dysphoria will
                                  will cause
                                       cause serious
                                             serious harm.
                                                     harm. Having
                                                           Having seen
                                                                  seen the
                                                                       the significant
                                                                           significant distress
                                                                                       distress

and limitations
and             on function
    limitations on function experienced by adolescent
                            experienced by adolescent patients
                                                      patients with
                                                               with gender
                                                                    gender dysphoria,
                                                                           dysphoria, and
                                                                                      and the
                                                                                          the

transformative effects
transformative effects of
                       of gender
                          gender affirming
                                 affirming medical
                                           medical treatments,
                                                   treatments, the
                                                               the thought
                                                                   thought of
                                                                           of withholding
                                                                              withholding this
                                                                                          this

care from
care      those who
     from those who need
                    need it
                         it is
                            is deeply
                               deeply concerning.
                                      concerning. Doing
                                                  Doing so
                                                        so will
                                                           will predictably
                                                                predictably result in adolescents
                                                                            result in adolescents

unnecessarily suffering
unnecessarily suffering distress, withdrawing from
                        distress, withdrawing from life activities and,
                                                   life activities and, for
                                                                        for some,
                                                                            some, hurting
                                                                                  hurting

themselves. It
themselves. It will
               will deny
                    deny many
                         many adolescents
                              adolescents with
                                          with gender
                                               gender dysphoria
                                                      dysphoria the
                                                                the opportunity
                                                                    opportunity to
                                                                                to be
                                                                                   be healthy
                                                                                      healthy

and thrive.
and thrive. In
            In aa large survey of
                  large survey of transgender
                                  transgender adolescents
                                              adolescents and
                                                          and young
                                                              young adults,
                                                                    adults, those
                                                                            those who
                                                                                  who had
                                                                                      had access
                                                                                          access

to medical
to medical interventions
           interventions reported
                         reported lower depression and
                                  lower depression and suicidal
                                                       suicidal ideation
                                                                ideation compared
                                                                         compared to
                                                                                  to adolescents
                                                                                     adolescents

and young
and young adults
          adults who
                 who sought
                     sought medical
                            medical interventions but were
                                    interventions but were not
                                                           not receiving them.17 Restricting
                                                               receiving them.17 Restricting

access will
access will increase depression and
            increase depression and suicidal
                                    suicidal ideation
                                             ideation within
                                                      within an
                                                             an already
                                                                already vulnerable
                                                                        vulnerable population.
                                                                                   population.

       43.
       43.     For youth
               For youth entering
                         entering puberty,
                                  puberty, access
                                           access to
                                                  to puberty
                                                     puberty blockers
                                                             blockers prior
                                                                      prior to
                                                                            to the
                                                                               the onset
                                                                                   onset of
                                                                                         of

irreversible secondary
irreversible secondary sex
                       sex characteristics (e.g., deep
                           characteristics (e.g., deep voice,
                                                       voice, chest
                                                              chest development)
                                                                    development) bypasses
                                                                                 bypasses much
                                                                                          much of
                                                                                               of

the dysphoria,
the            distress and
    dysphoria, distress and psychological
                            psychological harm
                                          harm that
                                               that going
                                                    going through
                                                          through misaligned
                                                                  misaligned puberty
                                                                             puberty can
                                                                                     can cause,
                                                                                         cause,

as well
as well as
        as prevent
           prevent more
                   more invasive
                        invasive and
                                 and costly
                                     costly procedures
                                            procedures in
                                                       in adolescence
                                                          adolescence and
                                                                      and adulthood
                                                                          adulthood such
                                                                                    such as
                                                                                         as

surgery.
surgery.

       44.
       44.     Clinically, II have
               Clinically,    have had
                                   had cases
                                       cases where
                                             where patients
                                                   patients are
                                                            are not
                                                                not able
                                                                    able to
                                                                         to receive
                                                                            receive gender
                                                                                    gender

affirming medical
affirming medical care
                  care for
                       for various
                           various reasons
                                   reasons and
                                           and are
                                               are forced
                                                   forced to
                                                          to wait
                                                             wait until
                                                                  until they
                                                                        they turn
                                                                             turn 18.
                                                                                  18. While
                                                                                      While

waiting, there
waiting, there is often increased
               is often increased psychological
                                  psychological distress impairing their
                                                distress impairing their daily life and
                                                                         daily life and functioning.
                                                                                        functioning.

For example,
For example, individuals
             individuals may
                         may become
                             become so
                                    so dysphoric
                                       dysphoric with
                                                 with their
                                                      their bodies
                                                            bodies that
                                                                   that they
                                                                        they are
                                                                             are not
                                                                                 not able
                                                                                     able to
                                                                                          to



17
   Amy E.
17 Amy E. Green
          Green et
                et al.,
                   al., Association
                        Association of
                                    of Gender-Affirming Hormone Therapy
                                       Gender-Affirming Hormone Therapy With Depression,
                                                                        With Depression,
Thoughts of Suicide,
Thoughts of Suicide, and
                     and Attempted
                         Attempted Suicide
                                   Suicide Among
                                           Among Transgender and Nonbinary
                                                 Transgender and Nonbinary Youth,
                                                                           Youth, 70
                                                                                  70 J.
                                                                                     J.
ADOLESCENT HEALTH
ADOLESCENT   HEALTH 643,
                      643, 647-48 (2022).
                           647-48 (2022).
                                                 15
                                                 15
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leave the house to attend school, participate in extra-curricular activities, or continue working or

obtain employment. Those who are forced to wait can decompensate. I have had several cases

where depression related to gender dysphoria increased to such a degree that inpatient

hospitalization was needed for stabilization following significant self-harm, suicidal ideation or a

suicide attempt. In some cases, adolescent patients become desperate and have explored or

obtained hormones online or from other countries. Doing so without appropriate dosing and

monitoring places them at risk for physical harm.

        45.     Our clinic has recently had around ten families come to us from other states where

bans on gender-affirming medical care for minors have been enacted. With some families, they

come to us every 3-6 months for follow-up. This places significant financial strain on families as

well as disrupts daily life every 3-6 months. Some families have made the difficult decision to

move to California, leaving a state that they loved and leaving their support systems behind in

order to care for their child.



I declare under penalty of perjury that the foregoing is true and correct.




Executed on: .4 I t)/ e:-)O.0) -S
                                                                             istine rady, PhD




                                                 16
